Case 1:17-cv-01160-LMB-JFA Document 92 Filed 02/08/19 Page 1 of 5 PageID# 2031




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                      ALEXANDRIA DIVISION

   DENISE BAKER,for herself and on behalf of
   all similarly situated individuals.

                  Plaintiff,


   V.
                                                           Case No. I:l7-cv-1160(LMB/JFA)

   NAVIENT SOLUTIONS, LLC,

                  Defendant.


                                             FINAL APPROVAL ORDER

          The Court having held a final approval hearing on February 8, 2019, notice ofthe hearing

   having been duly given in accordance with this Court's Preliminary Approval Order, and having

   considered all matters submitted to it at the final approval hearing and otherwise, and finding no

   just reason for delay in entry of this final approval order and good cause appearing therefore.

          It is hereby ORDERED, ADJUDGED AND DECREED as follows:

           1.     The Settlement Agreement dated June 19, 2018, including its exhibits (the

   "Agreement"), and the definition of words and terms contained therein are incorporated by

   reference hereinafter in this Order. The terms of this Court's Preliminary Approval Order are

   also incorporated by reference in this Final Approval Order, which constitutes a Final Judgment

   and Order of Dismissal.


          2.      This Court has Jurisdiction over the subject matter of the Action and over the

   Parties, including all persons in the following Settlement Class certified for settlement purposes

   in this Court's Preliminaiy Approval Order:

          Each person throughout the United States who was: (1) listed as a credit
          reference on a student loan application; and (2) called by NSL on a cellular
          telephone number using dialing technology manufactured and/or licensed by
          Interactive Intelligence. Excluded from the class definition are: (1) persons who
Case 1:17-cv-01160-LMB-JFA Document 92 Filed 02/08/19 Page 2 of 5 PageID# 2032
Case 1:17-cv-01160-LMB-JFA Document 92 Filed 02/08/19 Page 3 of 5 PageID# 2033
Case 1:17-cv-01160-LMB-JFA Document 92 Filed 02/08/19 Page 4 of 5 PageID# 2034
Case 1:17-cv-01160-LMB-JFA Document 92 Filed 02/08/19 Page 5 of 5 PageID# 2035
